 OPINION. Oppee, Judge: This proceeding is controlled by Chattanooga Automobile Club, 12 T. C. 967, from which it is indistinguishable. No basis exists for limiting the action of respondent under the doctrine of estoppel where appropriate enforcement of the law requires a change of position on his part. Agricultural Securities Corporation, 39 B. T. A. 1103, 1114; affd. (C. C. A., 9th Cir.), 116 Fed. (2d) 800; Stern Bros. &amp; Co. v. Commissioner (C. C. A., 8th Cir.); 108 Fed. (2d) 309; affd., 311 U. S. 617. On the authority of Chattanooga Automobile Club, supra, Decision will be entered for the respondent. 